          Case 1:14-cr-02092-SAB             ECF No. 323        filed 09/23/15       PageID.786 Page 1 of 1
O PS 8
(3/15)
                                                                                                           FILED IN THE
                                                                                                       U.S. DISTRICT COURT
                               UNITED STATES DISTRICT COURT                                      EASTERN DISTRICT OF WASHINGTON



                                                              for                                 Sep 23, 2015
                                                                                                      SEAN F. MCAVOY, CLERK
                                             Eastern District of Washington

U.S.A. vs.                   Gardee, Anthony Linn                         Docket No.          0980 1:14CR02092-SAB-4

                                Petition for Action on Conditions of Pretrial Release
        COMES NOW Linda J. Leavitt, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct
of defendant Anthony Linn Gardee, who was placed under pretrial release supervision by the Honorable U.S. Magistrate
Judge James P. Hutton sitting in the court at Yakima, Washington, on the 27th day of January, 2015 under the following
conditions:

Condition #6: Defendant shall report to the United States Probation Office before or immediately after release and shall
report as often as they direct, at such times in such manner as they direct.

Condition #17: Prohibited substance testing: Defendant shall submit to any method of testing required by the Pretrial Service
Office for determining whether the Defendant is using a prohibited substance.

       RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
The defendant is alleged to be in violation of his conditions of pretrial supervision in the Eastern District of Washington by:

Violation #1: Failing to report in person to the United States Probation Office since June 8, 2015.

Violation #2: Failing to submit to random urine testing at Merit Resource Services since June 28, 2015, as directed by the
United States probation officer.
                            PRAYING THAT THE COURT WILL ORDER A SUMMONS
                                                                            I declare under the penalty of perjury
                                                                            that the foregoing is true and correct.
                                                                            Executed on:       September 21, 2015
                                                                    by      s/Linda Leavitt
                                                                            Linda J. Leavitt
                                                                            U.S. Pretrial Services Officer

THE COURT ORDERS
[ ]  No Action
[ ]  The Issuance of a Warrant
[ X] The Issuance of a Summons
[ ]  The incorporation of the violations contained in this
      petition with the other violations pending before the
      Court.
[ ]  Defendant to appear before the Judge assigned to the case.
[ ]  Defendant to appear before the Magistrate Judge.
[ ]  Other
                                                                              Signature of Judicial Officer

                                                                                     9/23/2015
                                                                              Date
